Case 1:17-cv-00174-JJM-PAS Document 10 Filed 02/07/18 Page 1 of 1 PageID #: 48



                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND


JOHN DOE,                                            :
                                                     :
                       Plaintiff                     :
                                                     :
                                                     :
v.                                                   :       C.A. No. 17-174-M
                                                     :
                                                     :
BRYANT UNIVERSITY,                                   :
                                                     :
                       Defendants                    :

                                   DISMISSAL STIPULATION


        The undersigned parties, by and through their counsel, hereby stipulate and agree that all

claims made in the above-captioned action shall be dismissed, with prejudice, all parties to bear

their own costs and fees.

ENTER:                                               ORDER:



________________________________                     __________________________________


JOHN DOE                                           BRYANT UNIVERSITY

By his Attorney,                                   By its Attorney,

 /s/ Ronald L. Bonin                                /s/ Mark W. Freel
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